     Case 4:23-cv-03416 Document 14 Filed on 09/18/23 in TXSD Page 1 of 1

                     UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS


Weatherford U.S., L.P., et al.

v.                                               Case Number: 4:23−cv−03416

Iron IQ, Inc.




                                 Notice of Setting

A proceeding has been set in this case as set forth below.

BEFORE:
Magistrate Judge Sam S Sheldon
LOCATION:
by video
United States District Court
515 Rusk Street
Houston, TX 77002


DATE: 9/19/2023
TIME: 12:30 PM
TYPE OF PROCEEDING: Status Conference


Date: September 18, 2023                                     Nathan Ochsner, Clerk
